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IN THE UNITED STATES DISTRICT COURT
FOR. THE `WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

06/03/2005

CASE NO: 04-20009-M1

USA vS. JOHN FELIX GREER

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Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

